           Case: 1:24-cv-09325 Document #: 1 Filed: 10/02/24 Page 1 of 5 PageID #:1



 1   Saku
                               RECEIVED
     8817 S Morgan St
 2
     Chicago, IL 60620               OCT O 2 2024 \LL---         1 :24-cv-09325
 3   (872) 773-9414
                                  tHoMAs G. BRUTON T      Judge John F. Kness_
     Sekoubey99@proton.me      CLERK, U.S. DISTRICT COUR  Magistrate JudgeSheda M. Finnegan
 4                                                        Random Cat3
                               UNITED STATES DISTRICT COURT
 5

 6                             NORTHERN DISTRICT OF ILLINOIS

 7

 8   COMMUNITY INVESTMENT                            Case No.:
 9   CORPORATION,

IO                Plaintiff,
                                                     NOTICE OF REMOVAL
11   vs.
12   SAKU,
13
                  Defendant
14

15                Be advised, the above captioned case has been removed to FEDERAL COURT.
16
     Take due NOTICE and govern yourselves accordingly.
17
                  Dated this 2nd of October, 2024.
18

19

20                                                   ��

21

22

23

24

25

26

27

28
     NOTICE OF REMOVAL - 1
Case: 1:24-cv-09325 Document #: 1 Filed: 10/02/24 Page 2 of 5 PageID #:2
Case: 1:24-cv-09325 Document #: 1 Filed: 10/02/24 Page 3 of 5 PageID #:3
        , This form Case:   1:24-cv-09325
                    is approved                 Document
                                by the Illinois Supreme    #:a�
                                                        Court 1 Filed:  10/02/24
                                                                 Is required        Page 4inof
                                                                             to be accepted all5Illinois
                                                                                                   PageID    #:4Courts.
                                                                                                         Circuit
             STATE OF ILLINOIS,                                                                   For Court Use Only
              CIRCUIT COURT                                                                                        FILED
                                                    EVICTION COMPLAINT                                             8/12/2024 1:52 PM
      oo�k,a_____ COUNTY
    �G=                                                                                                            IRIS Y. MARTINEZ
                                                                                                                   CIRCUIT CLERK
    Instructions ,..                                                                                               COOK COUNTY, IL
  Directly above, enter     Plaintiff (For example, the landlord or owner):                                        20241712813
  the name of the          Community Investment Corporation                                                        Courtroom, 1302
  county where you will                                                                                            28906346
  file the case.
  Enter your name as
  Plaintiff.               V.
                                                                  System Generated He� ring Date: «CmsHearingStart»
  Below "Defendants,"                                             Location: <<CmsHearir gResource="Location">>
  enter the names of all   Defendants (First, middle, lasf name):
                                                                  Judge: «CmsHearingl �esource="JudicialOfficer"»
  the people you are       Saku
  trying to evict.
  The sheriffwill only
  evict unknown
  occupants if the
                           IZI Unknown Occupants (Unknown Occupants arrL .-��                 L--------�   �-�·­




                                 people living in the property whose names you do
  "Unknown
  Occupants" box is
                                 know.)
  checked.
  The Circuit Clerk will
  add a Case Number.


  In I, enter the           1.    I have the right to possession of the following property:
  address of the                  Address: 8817 S Morgan St, Chicago, IL 60620
  property.
                                              Address, Unit#                         City                  State          ZIP

  In 2a-e, check the
  reason you are asking
                            2.   .Defendants unlawfully withhold possession and have no right to stay in the property
  the court to evict              because (check all that apply):
  Defendants from the
  property.
                                  a.   D I ended (terminated) the lease for nonpayment of rent. Defendants owe rent for the
                                         period: _____ to _____ in the amount of _.._$ ____
                                                     Date                     Date
                                  b.   IZI They refused to leave the property after their oral or written lease ended.
                                  c.   D I ended (terminated) the lease because Defendants violated the terms of their lease
                                           by (explain how they violated the lease):




                                  d.   D They are trespassers.
                                  e.   D They entered lawfully but have overstayed.
  In 3, check the boxes     3.    I demand possession of the property and court costs.
  that apply to your              I also demand (check all that apply):
  situation.
                                 D     Past due rent in the amount of .....z..$ ___
                                 D     Rent due through the date of judgment
                                 D     Attorneys' fees, if allowed under the law.




E-C 3502.1                                                      Page 1 of 2                                                     (08/20)
Case: 1:24-cv-09325 Document #: 1 Filed: 10/02/24 Page 5 of 5 PageID #:5
